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                               UNITED STATES DISTRICT COURT
                                   Northern District of Illinois
                                   219 South Dearborn Street
                                     Chicago, Illinois 60604

Thomas G. Bruton                                                                    312-435-5670
Clerk




Date 12/17/2021


Iris Y. Martinez, Clerk
Circuit Court of Cook County
Richard J. Daley Center
50 W. Washington Street
Chicago, IL 60602

Re: Ervin v. Ervin et al
USDC Case Number: 1:21-cv-06064
Circuit Court Case Number: 04D1943


Dear Clerk:


A certified copy of an order entered on 12/16/2021 by the Honorable Sarina Antonina Ervin,
remanding the above-entitled case back to the Circuit Court of Cook County, Illinois is herewith
transmitted to you for your files.


                                             Sincerely yours,
                                             Thomas G. Bruton, Clerk

                                             By: /s/ Roberto Cornejo
                                                Deputy Clerk




Enclosure(s)




Rev. 10/05/2016
